UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

In Re: ANDREA-VANESSA MASON Case No. 16-31378-HCM
APPLICATION AUTHORIZING PAYMENT OF UNCLAIMED MONIES INTO THE COURT
This application by the Trustee to pay into the Court unclaimed monies of the Debtor remaining

in the Trustee’s account is the result of the unknown whereabouts of the Debtor. The last known address
of the Debtor(s) is and the amount of the Debtor’s monies are:

 

Name and Address of Debtor(s) Amount of Refund Check
ANDREA-VANESSA MASON $3,348.76
4735 HASE ST

EL PASO, TX 79906

THEREFORE, as provided by 28 U.S.C. Section 2041 and 2042, the Trustee is hereby
authorized, by his signature, to pay said monies to the Clerk of the United States Bankruptcy Court for
deposit or withdrawal.

Dated: September 14, 2017

/s/Stuart C. Cox

Standing Chapter 13 Trustee
SBN: 00794992

1760 N. Lee Trevino Drive
El Paso, TX 79936

(915) 598-6769 telephone
(915) 598-9002 facsimile

 
